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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Western Division

All Others Similarly Situated, et al.
                                         Plaintiff,
v.                                                       Case No.: 3:15−cv−50148
                                                         Honorable Frederick J. Kapala
Cynosure Inc
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, August 6, 2018:


        MINUTE entry before the Honorable Iain D. Johnston: Attorney Kyle Gooch's
motion to withdraw [205] is granted because other attorneys from the same firm will
remain as counsel for defendant. The appearance Mr. Gooch is withdrawn and the clerk is
directed to terminate them from this case. (yxp, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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